Case 2:18-cr-00178-DBH Document6 Filed 11/30/18 Pagelof2 PagelD#: 33

U.S. DISTRICT COURT

2 :1%-c-178-OBH

STRICT OF MAINE = ¥NDICTMENT SYNOPSIS

PORTLAND
LOCENVED & FILED

November 30, 2018

 

aie WY 30 P i: Gl

Name:

~ UEPUTY CLERK

DERONG MIAO
a/k/a “Amy,” “Ronger,” “Arong,” “Anna,” “Lily,” and
*“TiLi”

 

Address:
(City & State Only)

Concord, New Hampshire

 

Year of Birth and Age:

1981 — Age 37

 

Violations:

COUNT ONE: Conspiracy, in violation of 18 U.S.C. §§
371, 2421, 2422(a) & 1952(a)(3), (b}(1)

COUNTS TWO & THREE: Sex Trafficking by Fraud &
Coercion, in violation of 18 U.S.C. § 1591(a)(1) and
1594(a).

COUNTS FIVE - NINE: Transportation for Purposes of
Prostitution, in violation of 18 U.S.C. § 2421 (a) and 2.

 

Penalties:

COUNT ONE: Not more than 5 years imprisonment (18
U.S.C. § 371), a fine not to exceed $250,000 fine (18
U.S.C. § 3571(b)(3)), or both. This is a Class D felony.

COUNTS TWO & THREE: Imprisonment of not less
than 15 years and not more than life (18 U.S.C. §
1591(b)(1)), a fine not to exceed $250,000 (18 U.S.C. §
3571(b)(3)), or both. This is a Class A felony.

COUNTS FIVE - NINE: Imprisonment of not more than
10 years (18 U.S.C. § 2421(a)), a fine not to exceed
$250,000 (18 U.S.C. § 3571(b)(3)), or both. This is a
Class C felony.

 

Supervised Release:

COUNT ONE & FIVE - NINE: Not more than 3 years.
18 U.S.C. § 3583(b)(2).

COUNTS TWO & THREE: Not more than 5 years. 18
U.S.C. § 3583(b)(1).

 

 

Maximum Term of Imprisonment for
Violation of Supervised Release:

 

COUNTS ONE & FIVE -NINE: 2 years. 18 U.S.C. §
3583(e)(3).

COUNTS TWO & THREE: 3 years. 18 U.S.C. §
3583(e)(3).

 

 
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Maximum Add’! Term of Supervised
Release for Violation of Supervised
Release:

COUNTS ONE & FIVE-NINE: Not more than 3 years
less any term of imprisonment imposed on the
violation.18 U.S.C. § 3583¢h).

COUNTS TWO & THREE: Not more than 5 years less
any term of imprisonment imposed on the violation.18
U.S.C. § 3583(h).

 

Defendant’s Attorney:

Unknown

 

Primary Investigative Agency and Case
Agent Name:

 

FBI - Townsend

 

Detention Status:

Warrant to issue.

 

 

 

 

 

 

 

Foreign National: Yes

Foreign Consular Notification Provided: | Yes —_ - - a |
County: Cumberland & York |
AUSA: Darcie N. McElwee
Guidelines apply? Y/N Y |
Victim Case: Y

Corporate Victims Owed Restitution: N/A

 

 

Assessments:

 

$100 per count

 
